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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

 EQUAL EMPLOYMENT                              )
 OPPORTUNITY COMMISSION,                       )
                                               )
                       Plaintiff,              )   Civil Action No. 1:17-cv-4104
                                               )
                v.                             )   COMPLAINT
                                               )
 WORKFORCE INTEGRATION INC,                    )   Jury Trial Demanded
 d/b/a STRATAFORCE,                            )
                                               )
                       Defendant.              )
                                               )

                                    Nature of the Action
      This is an action under Title I of the Americans with Disabilities Act of

1990 and Title I of the Civil Rights Act of 1991 to correct unlawful employment

practices on the basis of disability. As alleged with greater particularity in

paragraphs 13 through 24 below, Defendant, Workforce Integration Inc doing

business as Strataforce, made prohibited inquiries as to whether its applicants

were individuals with a disability and as to the nature and severity of such

disabilities.

                               Jurisdiction and Venue
      1.        Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451,

1331, 1337, 1343, and 1345. This action is authorized and instituted pursuant

to Section 107(a) of the Americans with Disabilities Act of 1990 (“ADA”), 42

U.S.C. § 12117(a), which incorporates by reference Section 706(f)(1) and (3) of

Title VII of the Civil Rights Act of 1964 (“Title VII”), 42 U.S.C. § 2000e-5(f)(1)
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and (3) and pursuant to Section 102 of the Civil Rights Act of 1991, 42 U.S.C. §

1981a.

      2.     The employment practices alleged to be unlawful were and are now

being committed within the jurisdiction of the United States District Court for

the Southern District of Indiana.

                                     Parties
      3.     Plaintiff, the Equal Employment Opportunity Commission, is the

agency of the United States of America charged with the administration,

interpretation, and enforcement of Title I of the ADA and is expressly

authorized to bring this action by Section 107(a) of the ADA, 42 U.S.C. §

12117(a), which incorporates by reference Sections 706(f)(1) and (3) of Title VII,

42 U.S.C. § 2000e-5(f)(1) and (3).

      4.     At all relevant times, Defendant, Workforce Integration Inc, doing

business as Strataforce, has continuously been doing business in the State of

Indiana and the City of Indianapolis, and has continuously had at least 15

employees.

      5.     At all relevant times, Strataforce has continuously been an

employer engaged in an industry affecting commerce under Sections 101(5)

and (7) of the ADA, 42 U.S.C. §§ 12111(5), (7).

      6.     At all relevant times Strataforce has been a covered entity under

Section 101(2) of the ADA, 42 U.S.C. § 12111(2).




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                          Administrative Procedures
       7.    More than thirty days prior to the institution of this action, the

Commission received a charge alleging Strataforce violated the ADA.

       8.    On August 4, 2017, the Commission issued to Strataforce a Letter

of Determination finding reasonable cause to believe that the ADA was violated

and inviting Strataforce to join with the Commission in informal methods of

conciliation to endeavor to eliminate the unlawful employment practices and

provide appropriate relief.

       9.    The Commission engaged in communications with Strataforce to

provide Strataforce the opportunity to remedy the discriminatory practices

described in the Letter of Determination.

       10.   The Commission was unable to secure from Strataforce a

conciliation agreement acceptable to the Commission.

       11.   On August 29, 2017 the Commission issued to Strataforce a Notice

of Failure of Conciliation advising Strataforce that the Commission was unable

to secure from Defendant a conciliation agreement acceptable to the

Commission.

       12.   All conditions precedent to the institution of this lawsuit have been

fulfilled.

                              Statement of Claims
       13.   Since at least August 1, 2014, Strataforce has been engaged in

unlawful employment practices at its Indianapolis, Indiana location, in




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violation of Section 102(a) and (d)(2)(A) of the ADA, 42 U.S.C. § 12112(a) and

(d)(2)(A).

       14.   Strataforce provides application documents to applicants for

employment.

       15.   Exhibit A is a true and accurate copy of the application documents

Strataforce has provided applicants.

       16.   Strataforce instructs applicants to fill out the application

documents.

       17.   After applicants fill out the application documents, Strataforce

interviews the applicants.

       18.   Applicants have not been provided a conditional offer of

employment at the time they complete the application packet.

       19.   The application packet includes a document titled, “Post

Conditional Job Offer Medical Questionnaire.” Exhibit A, pp.12–13.

       20.   The Post Conditional Job Offer Medical Questionnaire includes

questions such as, “Do you have any physical and/or mental limitations or

have you sustained any injuries that would have an effect on your capacity to

perform the duties of a clerical position with or without reasonable

accommodation?” Exhibit A, p.12.

       21.   The Post Conditional Job Offer Medical Questionnaire also asks

about applicants’ current or former back, neck, and shoulder “problems

and/or injuries” and injuries to fingers, hands, wrists, arms, and knees.

Exhibit A, p.12.



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      22.   Strataforce has violated Section 102(d)(2)(A) of the ADA, 42 U.S.C.

§ 12112(d)(2)(A), by engaging—before a conditional offer has been made—in

inquiries as to whether its job applicants are individuals with disabilities and

to the nature or severity of such disabilities by requiring its applicants to

complete a “Post Conditional Job Offer Medical Questionnaire” that directs

applicants to disclose “physical and/or mental limitations,” current or former

“problems and/or injuries” with back, neck, or shoulders, and injuries to

fingers, hands, wrists, arms, and knees.

      23.   The unlawful employment practices complained of in Paragraph 22

were and are intentional.

      24.   The unlawful employment practices complained of in Paragraph 22

were and are done with malice or with reckless indifference to the federally

protected rights of Strataforce’s applicants.

                                Prayer for Relief
      Wherefore, the Commission respectfully requests that this Court:

      A.    Issue a permanent injunction prohibiting Strataforce, its offers,

agents, servants, employees, and all persons in active concert or participation

with them, from making any medical inquiries or requiring any health history

before a conditional offer has been made.

      B.    Order Strataforce to institute and carry out policies, practices, and

programs which provide equal employment opportunities for qualified

individuals with disabilities, and which eradicate the effects of its past and

present unlawful employment practices.



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      C.     Grant such further relief as the Court deems necessary and proper

in the public interest.

      D.     Award the Commission its costs of this action.

                              Jury Trial Demand
      The Commission requests a jury trial on all questions of fact raised by its

complaint.

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